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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                                        19-1796 C
                                                            Case No. ___________________
                Plaintiff,
                                                            Judge      ___________________
     v.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                Defendant.


                       PLAINTIFF AMAZON WEB SERVICES, INC.’S
                     NOTICE OF INTENT TO FILE ON COMPACT DISC

          Plaintiff Amazon Web Services, Inc. respectfully submits the following exhibits that are

 included in the Appendix to Plaintiff’s Sealed Motion to Supplement the Administrative Record.

 The contents of this CD-ROM disc have been scanned with anti-virus software with up-to-date

 anti-virus definitions as of November 22, 2019.

   Ex.       Appendix                                    Description
             Citation

     1       APP0005         Video Clip of Remarks by Donald J. Trump at Campaign Rally in Texas
                             (Feb. 2016)

     2       APP0060         Video Clip of Remarks by President Donald J. Trump to the Press (July
                             2019)

     3       APP0118         Video of Confirmation Testimony of Department of Defense Chief
                             Information Officer Dana Deasy (Oct. 29, 2019)

     4       APP0134         Video Clip of Fox News “Swamp Watch” Segment (July 21, 2019)




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Dated: November 22, 2019           Respectfully submitted,



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                             CERTIFICATE OF SERVICE

        I hereby certify that on November 22, 2019, a true copy of the foregoing NOTICE OF
INTENT TO FILE ON COMPACT DISC and accompanying CD-ROM disc was served by
courier upon:

      Anthony F. Schiavetti, Esq.
      United States Department of Justice
      Civil Division – Commercial Litigation Branch
      1100 L Street, N.W.
      Room 10012
      Washington, DC 20005

and

       I hereby certify that on November 22, 2019, two copies of the foregoing NOTICE OF
INTENT TO FILE ON COMPACT DISC and two copies of the accompanying CD-ROM disc
were served by courier upon:

      Clerk’s Office
      United States Court of Federal Claims
      Howard T. Markey National Courts Building
      717 Madison Place, N.W.
      Washington, DC 20439


Dated: November 22, 2019                 By:



                                                Kevin P. Mullen




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